                                                              Case 3:22-cv-00949-CRB Document 77 Filed 10/26/22 Page 1 of 2



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                                                         A PROFESSIONAL CORPORATION
                                                     2
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                                                     7
                                                         Attorneys for Defendant
                                                     8   LAWRENCE MCVOY

                                                     9
                                                    10                                    UNITED STATES DISTRICT COURT
                                                                                        NORTHERN DISTRICT OF CALIFORNIA
                                                    11
                                                         DAVID M. KISSNER, an individual,                 CASE NO. 22-CV-00949-CRB
                                                    12
                 350 University Avenue, Suite 200




                                                                           Plaintiff,                     DEFENDANT LAWRENCE MCVOY’S
                                                    13
                                                                                                          AMENDED NOTICE OF MOTION FOR
                     Sacramento, CA 95825
PORTER | SCOTT



                       FAX: 916.927.3706
                       TEL: 916.929.1481




                                                    14   v.                                               ENTRY OF FINAL JUDGMENT ON
                                                                                                          COURT’S ORDER PURSUANT TO
                                                    15   LOMA PRIETA JOINT UNION SCHOOL                   FEDERAL RULE OF CIVIL
                                                         DISTRICT, a California public agency;            PROCEDURE 54(b)
                                                    16
                                                         LISA FRASER, former superintendent at
                                                    17   Loma Prieta Joint Union School District, in      Date: December 2, 2022
                                                         her official and individual capacities;          Time: 10:00 a.m.
                                                    18   COREY KIDWELL, former superintendent             Ctrm: 6
                                                    19   at Loma Prieta Joint School District, in her     Judge: Charles R. Breyer
                                                         official and individual capacities; KEVIN
                                                    20   GRIER, successor superintendent at Loma
                                                         Prieta Joint School District, in his official
                                                    21   capacity; BILLY MARTIN, principal of CT          Complaint Filed: 3/20/2022
                                                    22   English Middle School, in his official and
                                                         individual capacities; DEANA A. ARNOLD,
                                                    23   Loma Prieta Joint Union School District
                                                         trustee, in her official and individual
                                                    24   capacities; BEN ABELN, Loma Prieta Joint
                                                    25   Union School District trustee, in his official
                                                         and individual capacities; RON BOURQUE,
                                                    26   Loma Prieta Joint Union School District
                                                         trustee, in his official and individual
                                                    27   capacities; CHARLOTTE KHANDELWAL,
                                                    28   Loma Prieta Joint Union School District
                                                         trustee, in her official and individual
                                                         {02837840.DOCX}                       1
                                                          DEFENDANT’S AMENDED NOTICE OF MOTION FOR ENTRY OF FINAL JUDGMENT ON COURT’S
                                                                    ORDER PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 54(b)
                                                             Case 3:22-cv-00949-CRB Document 77 Filed 10/26/22 Page 2 of 2



                                                     1   capacities; ERIN ASHEGHIAN, Loma
                                                         Prieta Joint Union School District trustee, in
                                                     2   her official and individual capacities;
                                                         PATRICIA ELLIOT, an individual; JOIE
                                                     3   GRIMMET, an individual; LAWRENCE
                                                     4   MCVOY, and individual, and DOES 1
                                                         through 50, inclusive,
                                                     5
                                                                     Defendants.
                                                     6   ____________________________________/
                                                     7
                                                     8
                                                     9           TO ALL PARTIES AND THEIR ATTORNEY OF RECORD:
                                                    10           PLEASE TAKE NOTICE that on December 2, 2022 at 10:00 a.m. in Courtroom 6, 17th
                                                    11   Floor, San Francisco Courthouse, 450 Golden Gate Avenue, San Francisco, CA, defendant
                                                    12   LAWRENCE MCVOY (“defendant”) will and hereby does move the Court to enter final
                 350 University Avenue, Suite 200




                                                    13   judgment pursuant to Federal Rule of Civil Procedure 54(b).
                     Sacramento, CA 95825
PORTER | SCOTT



                       FAX: 916.927.3706
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                                                    14           This motion is made following the Order Granting Defendant’s Motion to Strike that
                                                    15   was granted on August 24, 2022.
                                                    16           This motion is based on this Notice of Motion, the Memorandum of Points and
                                                    17   Authorities, the pleadings, Order Granting Defendant’s Motion to Strike, records on file in this

                                                    18   matter, any evidence, including oral and documentary evidence, that may be presented at the time

                                                    19   of hearing on the motion and such additional matters that the Court may entertain.

                                                    20
                                                    21   Dated: October 26, 2022                      PORTER SCOTT
                                                                                                      A PROFESSIONAL CORPORATION
                                                    22
                                                                                                             /s/Lindsay A. Goulding
                                                    23                                                By
                                                                                                             Lindsay A. Goulding
                                                    24                                                       Tatiana Moana Bush
                                                    25                                                       Attorneys for Defendant
                                                                                                             LAWRENCE MCVOY
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                                                    27
                                                    28

                                                         {02837840.DOCX}                       2
                                                          DEFENDANT’S AMENDED NOTICE OF MOTION FOR ENTRY OF FINAL JUDGMENT ON COURT’S
                                                                    ORDER PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 54(b)
